    Case 7:16-cv-00108-O Document 7 Filed 09/16/16                 Page 1 of 8 PageID 103



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION



 FRANCISCAN ALLIANCE, INC.;
 SPECIALITY PHYSICIANS OF ILLINOIS,
 LLC,;
 CHRISTIAN MEDICAL & DENTAL
 ASSOCIATIONS;
                                                       Civ. Action No. 7:16-cv-00108-O
 - and -

STATE OF TEXAS;
STATE OF WISCONSIN;
STATE OF NEBRASKA;
COMMONWEALTH OF KENTUCKY, by
and through Governor Matthew G. Bevin; and
STATE OF KANSAS,

                      Plaintiffs,
                v.

 SYLVIA BURWELL, Secretary of the United
 States Department of Health and Human
 Services; and UNITED STATES
 DEPARTMENT OF HEALTH AND
 HUMAN SERVICES

                        Defendants.




           MOTION TO INTERVENE OF RIVER CITY GENDER ALLIANCE
                           AND ACLU OF TEXAS


       River City Gender Alliance and the ACLU of Texas (collectively, “Movants”) seek

intervention as defendants of right, pursuant to Federal Rule of Civil Procedure 24(a)(2).

Alternatively, Movants request permissive intervention under Rule 24(b)(1). Defendants oppose

the motion to intervene as of right and are not in a position to state their position on Movants’
    Case 7:16-cv-00108-O Document 7 Filed 09/16/16                  Page 2 of 8 PageID 104



request for permissive intervention; Plaintiffs are not able to state their position on the Motion

for Intervention without seeing the motion papers.

       1.      Movants are River City Gender Alliance (“RCGA”), and the ACLU of Texas. The

facts below are supported by the declarations of Katherine Parris, as representative of RCGA,

and Cheryl Newcomb, as representative of the ACLU of Texas. See Exhs. 1 and 2. Movants also

submit a Memorandum of Law in Support of their Motion to Intervene, an Appendix, a Proposed

Answer in Intervention, and a Proposed Order Granting Intervention.

       2.      RCGA is an Omaha-based, nonprofit organization that provides peer support for

transgender and gender non-conforming people. It currently has more than 150 members,

spanning all age ranges. It has several members who have a medical need for treatment related to

gender transition and who anticipate needing treatment over the next year. One of these members

is a Nebraska state employee who receives healthcare coverage through their employee

healthcare plan, and who has been denied coverage for their hysterectomy and hormone therapy.

At least one of these members works at a Catholic hospital and receives healthcare coverage

through their employee healthcare plan. At least one of these members receives primary care at a

public hospital. At least one of these members receives primary care at a Catholic hospital. And

at least one of these members was subject to discrimination related to their transgender status

while receiving care at a hospital. If Plaintiffs succeed in striking down the U.S. Department of

Health and Human Service’s final rule, “Nondiscrimination in Health Programs and Activities”

(the “Regulation”), RCGA fears that its members will be discriminated against in healthcare

based on their gender identity.

       3.      The ACLU of Texas is a nonpartisan, nonprofit organization with more than

10,000 members dedicated to defending the principles embodied in our Constitution and our
    Case 7:16-cv-00108-O Document 7 Filed 09/16/16                  Page 3 of 8 PageID 105



nation’s civil rights laws. It is the Texas affiliate of the American Civil Liberties Union. The

ACLU of Texas advocates on behalf of transgender people, people seeking reproductive

healthcare, and religious freedom. If Plaintiffs succeed in striking down the Regulation, the

ACLU of Texas fears that its members will be subject to discrimination in healthcare. The

ACLU of Texas has multiple members who are transgender, including at least one member who

must rely on public hospitals for his emergency healthcare needs and members who anticipate

requiring medical treatment related to gender transition for themselves or their dependents within

the next year. The ACLU of Texas also currently has several members who plan to seek

reproductive care within the next year. One ACLU of Texas member has a history of high-risk

pregnancy requiring emergency miscarriage management, including abortion; this member lacks

private health insurance and would have to rely on a public hospital for emergency care. Another

member’s current medical circumstances would make any pregnancy a medical emergency for

her. Finally, the ACLU of Texas has at least one member who objects to the use of her taxpayer

dollars to fund religiously motivated discrimination at public hospitals.

       4.      Movants seek to intervene as of right under Federal Rule of Civil Procedure 24(a),

or, alternatively, for permissive intervention under Federal Rule of Civil Procedure 24(b).

       5.      Movants satisfy all the requirements for intervention of right.

               a.      The motion to intervene is timely. It is being filed less than one month

                       after Plaintiffs filed their Complaint, and before this Court has ruled (or

                       even set a briefing schedule) on any motions, and it poses no danger of

                       prejudice to any existing party.

               b.      Movants’ members have several legally protectable interests at stake.

                       First, Movants’ members have interest in protecting their rights under the
Case 7:16-cv-00108-O Document 7 Filed 09/16/16            Page 4 of 8 PageID 106



              Regulation. Second, Movants’ members have an interest in equal access to

              healthcare. Third, Movants’ members have an Equal Protection Clause

              interest in avoiding discrimination by their state governments. Fourth,

              Movants’ members have an Establishment Clause interest in avoiding the

              concrete harms that would be imposed on them if Plaintiffs succeed in

              obtaining their requested religious accommodations. Fifth, Movants’

              members have an interest in ensuring that their tax dollars are not used to

              fund religiously motivated discrimination at public hospitals. Sixth,

              Movants’ members have an interest in receiving stabilizing care for their

              emergency medical condition, in accordance with the Emergency Medical

              Treatment and Active Labor Act. The public interest also supports

              Movants’ intervention to resolve the important constitutional and statutory

              questions raised by this litigation.

        c.    Movants may assert the interest of their members. The interests described

              above are highly germane to the respective missions of RCGA and the

              ACLU of Texas. RCGA focuses specifically on issues confronting

              transgender people. And the ACLU of Texas has a strong and

              longstanding interest in protecting the rights of transgender people and

              people seeking reproductive healthcare in Texas, as well as the right to

              religious freedom. Movants’ individual members need not participate in

              this litigation because the questions presented are primarily legal.

        d.    The interests of Movants’ members could be severely impaired by the

              outcome of this case. Movants’ members stand to lose the legal
Case 7:16-cv-00108-O Document 7 Filed 09/16/16                Page 5 of 8 PageID 107



              protections afforded under the Regulation. As a result, they may confront

              discrimination in healthcare, violation of their constitutional rights under

              the Equal Protection and Establishment Clauses, and the serious risk that

              they will be denied access to abortion-related care even in in emergency

              circumstances. Movants should not be forced to wait until the conclusion

              of this lawsuit to vindicate these interests.

        e.    Defendants may not adequately represent the interests of Movants’

              members. In particular, Movants’ members have an acutely personal

              interest at stake, which differs in degree and kind from Defendants’

              interests. Moreover, Movants will make legal arguments that are different

              from those that Defendants are likely to make. First, Movants seek to

              defend the Regulation on Establishment Clause grounds. Based on HHS’s

              position in other cases, Defendants are unlikely to argue that any religious

              accommodation of Plaintiffs’ discriminatory religious beliefs would

              violate the Establishment Clause. Second, Movants seek to defend the

              Regulation on Equal Protection Clause grounds. Based on the federal

              government’s briefs in other cases, Defendants are unlikely to argue that

              the policies Plaintiffs seek to implement deny equal protection on the basis

              of sex and on the basis of gender identity, whereas Movants will make

              those constitutional arguments. Third, Movants seek to assert that

              Plaintiffs’ requested relief would violate the Emergency Medical

              Treatment and Active Labor Act, and there is no indication that

              Defendants would seek to assert that statute here. The presence of these
    Case 7:16-cv-00108-O Document 7 Filed 09/16/16                  Page 6 of 8 PageID 108



                       additional arguments suffices to demonstrate that the representation may

                       be inadequate.

       6.      Alternatively, Movants satisfy the standard for permissive intervention under Rule

24(b)(1). Permissive intervention lies in the sound discretion of this Court, which may permit

anyone to intervene who has a “defense that shares with the main action a common question of

law or fact.” Fed. R. Civ. P. 24(b)(1)(B). Here, Movants and Defendants will address many of

the same legal issues relating to the Regulation’s validity. Additionally, Movants’ significant

interest in protecting their members’ regulatory, statutory, and constitutional rights militate in

favor of permissive intervention. And Movants’ ability to address these interests—including by

raising additional legal defenses in support of the Regulation—would contribute significantly to

the just and equitable resolution of the legal issues presented in this case. Thus, even if the Court

concludes that Movants are not entitled to intervene as of right, it should grant Movants’ request

for permissive intervention.
    Case 7:16-cv-00108-O Document 7 Filed 09/16/16              Page 7 of 8 PageID 109



                                        REQUEST FOR RELIEF

       For these reasons and those expressed in the accompanying memorandum of law,

Movants respectfully urge this Court to GRANT their motion to intervene and permit their

intervention in this case in an expeditious fashion.

Respectfully submitted this 16th day of September, 2016.


 /s/ Rebecca L. Robertson g
                                                       Brian Hauss*
 Rebecca L. Robertson
                                                       Brigitte Amiri*
 AMERICAN CIVIL LIBERTIES
                                                       Joshua Block*
   UNION OF TEXAS
                                                       James D. Esseks*
 P.O. Box 8306
                                                       Louise Melling*
 Houston, TX 77288
                                                       AMERICAN CIVIL LIBERTIES
 (713) 942-8146
                                                         UNION FOUNDATION
                                                       125 Broad Street, 18th Floor
Kali Cohn                                              New York, NY 10004
Kali Cohn                                              (212) 549-2500
AMERICAN CIVIL LIBERTIES
  UNION OF TEXAS
P.O. Box 600169
Dallas, TX 75360
(214) 346-6577


Daniel Mach*                                           Amy Miller*
AMERICAN CIVIL LIBERTIES                               AMERICAN CIVIL LIBERTIES
  UNION FOUNDATION                                       UNION OF NEBRASKA
915 15th Street, N.W.                                  134 S. 13th St., #1010
Washington, D.C. 20005                                 Lincoln, NE 68508
(202) 548-6604                                         (402) 476-8091



                                       Counsel for Movants

*Applications for admission forthcoming.
    Case 7:16-cv-00108-O Document 7 Filed 09/16/16                Page 8 of 8 PageID 110



                             CERTIFICATE OF CONFERENCE

         On September 15, 2016, counsel for Movants informed Sheila Lieber, Deputy Director of
the Civil Division of the U.S. Department of Justice and counsel for Defendants, that Movants
will seek to intervene in Franciscan Alliance v. Burwell and asked her clients’ position on that
motion. On September 15, 2016, Ms. Lieber responded that Defendants will likely oppose
Movants’ request for intervention as of right and that Defendants are not currently in a position
to state their position on Movants’ request for permissive intervention.

        On September 15, 2016, counsel for Movants informed Austin R. Nimocks, of the Office
of the Texas Attorney General, who is counsel for the States of Texas, Wisconsin, Nebraska,
Kansas, and the Commonwealth of Kentucky by and through Governor Matthew G. Bevin
(collectively, the “State Plaintiffs”), and Luke Goodrich, of The Becket Fund for Religious
Liberty, who is counsel for Franciscan Alliance, Inc., Specialty Physicians of Illinois, LLC, and
Christian Medical & Dental Associations (collectively, the “Private Plaintiffs”) that Movants will
seek to intervene in Franciscan Alliance v. Burwell, and asked their clients’ positions on that
motion. Mr. Nimocks and Mr. Goodrich informed Movants’ counsel that, without having
received any information on the alleged basis of intervention, Plaintiffs cannot consent.


                                                        /s/ Rebecca L. Robertson      g
                                                        Rebecca L. Robertson



                                CERTIFICATE OF SERVICE

          On September 16, 2016, I electronically submitted the foregoing MOTION TO
INTERVENE OF RIVER CITY GENDER ALLIANCE AND THE ACLU OF TEXAS and
attached documents to the clerk of the court for the U.S. District Court, Northern District of
Texas, using the electronic case filing system of the Court. I hereby certify that I have served
counsel of record for Plaintiffs through the Court’s ECF system. Counsel for Defendants has not
entered an appearance in this case. I hereby certify that I have mailed copies of the filing to
Defendants via U.S. Mail at the address of their designated representative: Mikia J. Turner, 200
Independence Avenue, S.W., Washington, District of Columbia County, DC 20201. In addition,
I have emailed copies of the filing to Sheila Lieber, Deputy Director of the Civil Division of the
U.S. Department of Justice and counsel for Defendants, and Adam Grogg, Trial Attorney of the
U.S. Department of Justice’s Federal Programs Branch, who Movants believe to be the assigned
trial attorney for Defendants in this case.

                                                        /s/ Rebecca L. Robertson      g
                                                        Rebecca L. Robertson
